Filed 03/16/21                                                             Case 21-20922                                                                       Doc 1


  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                        Chapter you are filing under:
                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12

                                                                                   Chapter 13                                        Check if this is an
                                                                                                                                     amended filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   04/20
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


  Part 1:   Identify Yourself

                                     About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

  1.   Your full name

       Write the name that is on     Kyle
       your government-issued        First name                                                       First name
       picture identification (for
       example, your driver's        Curtis
       license or passport).         Middle name                                                      Middle name
       Bring your picture
       identification to your
                                     Ash
       meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




  2.   All other names you have
       used in the last 8 years
       Include your married or
       maiden names.



  3.   Only the last 4 digits of
       your Social Security
       number or federal             xxx-xx-2306
       Individual Taxpayer
       Identification number
       (ITIN)




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  Debtor 1   Kyle Curtis Ash                                                                           Case number (if known)




                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

  4.   Any business names and
       Employer Identification
       Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
       used in the last 8 years

       Include trade names and     Business name(s)                                              Business name(s)
       doing business as names

                                   EIN                                                           EIN




  5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                   265 N. Orchard Ave.
                                   Vacaville, CA 95688
                                   Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                   Solano
                                   County                                                        County

                                   If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                       mailing address.



                                   Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




  6.   Why you are choosing        Check one:                                                    Check one:
       this district to file for
       bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                         I have lived in this district longer than in any               have lived in this district longer than in any other
                                         other district.                                                district.

                                         I have another reason.                                         I have another reason.
                                         Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
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  Debtor 1    Kyle Curtis Ash                                                                               Case number (if known)



  Part 2:    Tell the Court About Your Bankruptcy Case

  7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       choosing to file under
                                  Chapter 7
                                       Chapter 11
                                       Chapter 12

                                       Chapter 13



  8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                           about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                           order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                           a pre-printed address.
                                           I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                           The Filing Fee in Installments (Official Form 103A).
                                           I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                           but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                           applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                           the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



  9.   Have you filed for             No.
       bankruptcy within the
       last 8 years?                  Yes.
                                                District                                  When                            Case number
                                                District                                  When                            Case number
                                                District                                  When                            Case number



  10. Are any bankruptcy              No
      cases pending or being
      filed by a spouse who is        Yes.
      not filing this case with
      you, or by a business
      partner, or by an
      affiliate?
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known



  11. Do you rent your                No.        Go to line 12.
      residence?
                                      Yes.       Has your landlord obtained an eviction judgment against you?
                                                           No. Go to line 12.
                                                           Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                           this bankruptcy petition.




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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  Part 3:    Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
      of any full- or part-time         No.      Go to Part 4.
      business?

                                        Yes.     Name and location of business

       A sole proprietorship is a
       business you operate as                   See Attachment
       an individual, and is not a               Name of business, if any
       separate legal entity such
       as a corporation,
       partnership, or LLC.
       If you have more than one
       sole proprietorship, use a
       separate sheet and attach                 Number, Street, City, State & ZIP Code
       it to this petition.                      Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

  13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
      Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
      are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
      debtor or a debtor as          § 1116(1)(B).
      defined by 11 U.S.C. §
      1182(1)?
                                        No.      I am not filing under Chapter 11.
       For a definition of small
       business debtor, see 11
                                        No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
       U.S.C. § 101(51D).
                                                 Code.

                                        Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                 I do not choose to proceed under Subchapter V of Chapter 11.

                                        Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                 choose to proceed under Subchapter V of Chapter 11.


  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any            No.
      property that poses or is
      alleged to pose a threat          Yes.
      of imminent and                          What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                      If immediate attention is
      immediate attention?                     needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,             Where is the property?
       or a building that needs
       urgent repairs?
                                                                              Number, Street, City, State & Zip Code




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
Filed 03/16/21                                                             Case 21-20922                                                                         Doc 1
  Debtor 1    Kyle Curtis Ash                                                                            Case number (if known)

  Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                       About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether           You must check one:                                           You must check one:
      you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
      briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
      counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                           certificate of completion.                                    completion.
       The law requires that you
       receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
       credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
       you file for bankruptcy.
       You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
       one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
       choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
       so, you are not eligible to         a certificate of completion.                                  of completion.
       file.
                                           Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
       If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
       can dismiss your case, you          payment plan, if any.                                         any.
       will lose whatever filing fee
       you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
       creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
       collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                           days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                           circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                           of the requirement.
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                           To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                           requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                           what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                           you were unable to obtain it before you filed for             circumstances required you to file this case.
                                           bankruptcy, and what exigent circumstances
                                           required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                           Your case may be dismissed if the court is                    filed for bankruptcy.
                                           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                           If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                           still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                           You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                           agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                           developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                           may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                           Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15
                                           days.
                                           I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                           credit counseling because of:                                 counseling because of:

                                                 Incapacity.                                                  Incapacity.
                                                 I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                 making rational decisions about finances.                    decisions about finances.

                                                 Disability.                                                  Disability.
                                                 My physical disability causes me to be                       My physical disability causes me to be unable to
                                                 unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                 by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                                 reasonably tried to do so.                                   do so.

                                                 Active duty.                                                 Active duty.
                                                 I am currently on active military duty in a                  I am currently on active military duty in a military
                                                 military combat zone.                                        combat zone.
                                           If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                           briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                           motion for waiver credit counseling with the court.           of credit counseling with the court.




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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  Debtor 1    Kyle Curtis Ash                                                                               Case number (if known)

  Part 6:    Answer These Questions for Reporting Purposes

  16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
      you have?                              individual primarily for a personal, family, or household purpose.”
                                                 No. Go to line 16b.

                                                 Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



  17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
      Chapter 7?

       Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
       after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
       property is excluded and
       administrative expenses                   No
       are paid that funds will
       be available for                          Yes
       distribution to unsecured
       creditors?

  18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
      you estimate that you                                                            5001-10,000                                   50,001-100,000
      owe?                            50-99
                                      100-199                                          10,001-25,000                                 More than100,000
                                      200-999

  19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
      be worth?                                                                        $10,000,001 - $50 million
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
      to be?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  Part 7:    Sign Below

  For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                   United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                   document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                   and 3571.
                                   /s/ Kyle Curtis Ash
                                   Kyle Curtis Ash                                                   Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on     March 15, 2021                                    Executed on
                                                   MM / DD / YYYY                                                    MM / DD / YYYY




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
Filed 03/16/21                                                             Case 21-20922                                                                         Doc 1
  Debtor 1   Kyle Curtis Ash                                                                                Case number (if known)




  For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
  represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
  If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
  an attorney, you do not need    schedules filed with the petition is incorrect.
  to file this page.
                                  /s/ Joseph C. Rosenblit                                            Date         March 15, 2021
                                  Signature of Attorney for Debtor                                                MM / DD / YYYY

                                  Joseph C. Rosenblit 131663
                                  Printed name

                                  Law Offices of Joseph C. Rosenblit
                                  Firm name

                                  1370 N. Brea Blvd., Suite 235
                                  Fullerton, CA 92835
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     877-475-7065                               Email address         rosenblitlawyer@gmail.com
                                  131663 CA
                                  Bar number & State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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  Debtor 1         Kyle Curtis Ash                                                                    Case number (if known)


  Fill in this information to identify your case:

  Debtor 1                Kyle Curtis Ash
                          First Name                Middle Name                Last Name

  Debtor 2
  (Spouse if, filing)     First Name                Middle Name                Last Name


  United States Bankruptcy Court for the:    EASTERN DISTRICT OF CALIFORNIA

  Case number
  (if known)                                                                                                                   Check if this is an
                                                                                                                               amended filing


                                                    FORM 101. VOLUNTARY PETITION ATTACHMENT

                                                                  Additional Sole Proprietorship(s)



  AKC Properties, LLC
  Name of business, if any

  531 Westwood Court
  Vacaville, CA 95688
  Number, Street, City, State & ZIP Code

  Check the appropriate box to describe your business:
           Health Care Business (as defined in 11 U.S.C. § 101(27A))
           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
           Stockbroker (as defined in 11 U.S.C. § 101(53A))
           Commodity Broker (as defined in 11 U.S.C. § 101(6))

           None of the above


  Curtis Property Investments, LLC
  Name of business, if any

  531 Westwood Court
  Vacaville, CA 95688
  Number, Street, City, State & ZIP Code

  Check the appropriate box to describe your business:
           Health Care Business (as defined in 11 U.S.C. § 101(27A))
           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
           Stockbroker (as defined in 11 U.S.C. § 101(53A))
           Commodity Broker (as defined in 11 U.S.C. § 101(6))

           None of the above




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                             page 8
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     Fill in this information to identify your case:

     Debtor 1                   Kyle Curtis Ash
                                First Name                           Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          4,505,000.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             395,819.00

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          4,900,819.00

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             419,173.72

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $                5,693.00


                                                                                                                                         Your total liabilities $               424,866.72


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $              10,632.50

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,395.00

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                    the court with your other schedules.
     Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
    Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 03/16/21                                                             Case 21-20922                                                                  Doc 1
     Debtor 1      Kyle Curtis Ash                                                            Case number (if known)

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $     10,600.00


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:
           9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

           9d. Student loans. (Copy line 6f.)                                                                 $              0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $              0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


           9g. Total. Add lines 9a through 9f.                                                           $                 0.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
    Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
Filed 03/16/21                                                                               Case 21-20922                                                                                 Doc 1

     Fill in this information to identify your case and this filing:

     Debtor 1                    Kyle Curtis Ash
                                 First Name                                 Middle Name                    Last Name

     Debtor 2
     (Spouse, if filing)         First Name                                 Middle Name                    Last Name


     United States Bankruptcy Court for the:                      EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                     amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                          12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.

            Yes. Where is the property?




     1.1                                                                            What is the property? Check all that apply
            265 N. Orchard Ave.                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
            Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                           Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative

                                                                                           Manufactured or mobile home
                                                                                                                                      Current value of the      Current value of the
            Vacaville                         CA        95688-0000                         Land                                       entire property?          portion you own?
            City                              State              ZIP Code                  Investment property                               $530,000.00                $530,000.00
                                                                                           Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                           Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an interest in the property? Check one    a life estate), if known.
                                                                                           Debtor 1 only                              Fee simple
            Solano                                                                         Debtor 2 only
            County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                           At least one of the debtors and another         (see instructions)
                                                                                    Other information you wish to add about this item, such as local
                                                                                    property identification number:




    Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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     Debtor 1        Kyle Curtis Ash                                                                                        Case number (if known)

           If you own or have more than one, list here:
     1.2                                                                   What is the property? Check all that apply
           600 Coleman Circle                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
           Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                                  Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                  Condominium or cooperative

                                                                                  Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
           Vacaville                         CA        95688-0000                 Land                                            entire property?          portion you own?
           City                              State              ZIP Code          Investment property                                    $375,000.00                $375,000.00
                                                                                  Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                  Other                                           (such as fee simple, tenancy by the entireties, or
                                                                           Who has an interest in the property? Check one         a life estate), if known.
                                                                                  Debtor 1 only                                   Fee simple
           Solano                                                                 Debtor 2 only
           County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                  At least one of the debtors and another              (see instructions)
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:




           If you own or have more than one, list here:
     1.3                                                                   What is the property? Check all that apply
           531 Westwood Court                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
           Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                                  Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                  Condominium or cooperative

                                                                                  Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
           Vacaville                         CA        95688-0000                 Land                                            entire property?          portion you own?
           City                              State              ZIP Code          Investment property                                    $500,000.00                $500,000.00
                                                                                  Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                  Other                                           (such as fee simple, tenancy by the entireties, or
                                                                           Who has an interest in the property? Check one         a life estate), if known.
                                                                                  Debtor 1 only                                   Fee simple
           Solano                                                                 Debtor 2 only
           County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                  At least one of the debtors and another              (see instructions)
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:




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     Debtor 1        Kyle Curtis Ash                                                                                        Case number (if known)

           If you own or have more than one, list here:
     1.4                                                                   What is the property? Check all that apply
           201 Pena Abode Road                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
           Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                                  Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                  Condominium or cooperative

                                                                                  Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
           Vacaville                         CA        95687-0000                 Land                                            entire property?          portion you own?
           City                              State              ZIP Code          Investment property                                 $1,200,000.00               $1,200,000.00
                                                                                  Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                  Other                                           (such as fee simple, tenancy by the entireties, or
                                                                           Who has an interest in the property? Check one         a life estate), if known.
                                                                                  Debtor 1 only                                   Fee simple
           Solano                                                                 Debtor 2 only
           County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                  At least one of the debtors and another              (see instructions)
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:




           If you own or have more than one, list here:
     1.5                                                                   What is the property? Check all that apply
           609 Merchant Street                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
           Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                                  Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                  Condominium or cooperative

                                                                                  Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
           Vacaville                         CA        95688-0000                 Land                                            entire property?          portion you own?
           City                              State              ZIP Code          Investment property                                 $1,000,000.00               $1,000,000.00
                                                                                  Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                  Other     Commercial                            (such as fee simple, tenancy by the entireties, or
                                                                           Who has an interest in the property? Check one         a life estate), if known.
                                                                                  Debtor 1 only                                   Fee simple
           Solano                                                                 Debtor 2 only
           County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                  At least one of the debtors and another              (see instructions)
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:




    Official Form 106A/B                                                      Schedule A/B: Property                                                                          page 3
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     Debtor 1        Kyle Curtis Ash                                                                                        Case number (if known)

           If you own or have more than one, list here:
     1.6                                                                   What is the property? Check all that apply
           5400 Hansen Ranch Road                                                 Single-family home                              Do not deduct secured claims or exemptions. Put
           Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                                  Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                  Condominium or cooperative

                                                                                  Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
           Garberville                       CA        95542-0000                 Land                                            entire property?          portion you own?
           City                              State              ZIP Code          Investment property                                    $350,000.00                $350,000.00
                                                                                  Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                  Other                                           (such as fee simple, tenancy by the entireties, or
                                                                           Who has an interest in the property? Check one         a life estate), if known.
                                                                                  Debtor 1 only                                   Fee simple
           Humboldt                                                               Debtor 2 only
           County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                  At least one of the debtors and another              (see instructions)
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:




           If you own or have more than one, list here:
     1.7                                                                   What is the property? Check all that apply
           119 & 119 1/2 Kendal Street                                            Single-family home                              Do not deduct secured claims or exemptions. Put
           Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                                  Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                  Condominium or cooperative

                                                                                  Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
           Vacaville                         CA        95688-0000                 Land                                            entire property?          portion you own?
           City                              State              ZIP Code          Investment property                                    $550,000.00                $550,000.00
                                                                                  Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                  Other                                           (such as fee simple, tenancy by the entireties, or
                                                                           Who has an interest in the property? Check one         a life estate), if known.
                                                                                  Debtor 1 only                                   Fee simple
           Solano                                                                 Debtor 2 only
           County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                  At least one of the debtors and another              (see instructions)
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:




     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
        pages you have attached for Part 1. Write that number here...........................................................................=>                $4,505,000.00


     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




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    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
            Yes


      3.1    Make:       Chevrolet                                 Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      2500 HD                                         Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       2005                                            Debtor 2 only                                     Current value of the     Current value of the
             Approximate mileage:                  75,000                Debtor 1 and Debtor 2 only                        entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
             Location: 201 Pena Abode Road
             Vacaville, CA 95687                                         Check if this is community property                      $45,000.00                  $45,000.00
                                                                         (see instructions)



      3.2    Make:       Chevrolet                                 Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      Chevelle                                        Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       1972                                            Debtor 2 only                                     Current value of the     Current value of the
             Approximate mileage:                167,000                 Debtor 1 and Debtor 2 only                        entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
             Location: 201 Pena Abode Road
             Vacaville, CA 95687                                         Check if this is community property                      $40,000.00                  $40,000.00
                                                                         (see instructions)



      3.3    Make:       Chevrolet                                 Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      Chevelle                                        Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       1966                                            Debtor 2 only                                     Current value of the     Current value of the
             Approximate mileage:               Unkown                   Debtor 1 and Debtor 2 only                        entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
             Location: 201 Pena Abode Road
             Vacaville, CA 95687                                         Check if this is community property                      $20,000.00                  $20,000.00
                                                                         (see instructions)



      3.4    Make:       GMC                                       Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      C10                                             Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       1972                                            Debtor 2 only                                     Current value of the     Current value of the
             Approximate mileage:             Unknown                    Debtor 1 and Debtor 2 only                        entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
             Location: 201 Pena Abode Road
             Vacaville, CA 95687                                         Check if this is community property                        $5,000.00                   $5,000.00
                                                                         (see instructions)



      3.5    Make:       Chevrolet                                 Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      C10                                             Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       1968                                            Debtor 2 only                                     Current value of the     Current value of the
             Approximate mileage:             Unknown                    Debtor 1 and Debtor 2 only                        entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
             Location: 201 Pena Abode Road
             Vacaville, CA 95687                                         Check if this is community property                        $3,000.00                   $3,000.00
                                                                         (see instructions)




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     Debtor 1        Kyle Curtis Ash                                                                                Case number (if known)


      3.6    Make:       GMC                                       Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      C10                                             Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       1968                                            Debtor 2 only                                     Current value of the     Current value of the
             Approximate mileage:             Unknown                    Debtor 1 and Debtor 2 only                        entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
            Location: 201 Pena Abode Road
            Vacaville, CA 95687                                          Check if this is community property                      $90,000.00                  $90,000.00
                                                                         (see instructions)



      3.7    Make:       GMC                                       Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      Suburban                                        Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       1960                                            Debtor 2 only                                     Current value of the     Current value of the
             Approximate mileage:             Unknown                    Debtor 1 and Debtor 2 only                        entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
            Location: 201 Pena Abode Road
            Vacaville, CA 95687                                          Check if this is community property                      $30,000.00                  $30,000.00
                                                                         (see instructions)



      3.8    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      Kit Car                                         Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       1932                                            Debtor 2 only                                     Current value of the     Current value of the
             Approximate mileage:             Unknown                    Debtor 1 and Debtor 2 only                        entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
            Location: 201 Pena Abode Road
            Vacaville, CA 95687                                          Check if this is community property                      $40,000.00                  $40,000.00
                                                                         (see instructions)



      3.9    Make:       Harley Davidson                           Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      Road Glide                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       2009                                            Debtor 2 only                                     Current value of the     Current value of the
             Approximate mileage:                  15,000                Debtor 1 and Debtor 2 only                        entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
            Location: 201 Pena Abode Road
            Vacaville, CA 95687                                          Check if this is community property                      $25,000.00                  $25,000.00
                                                                         (see instructions)


      3.1
      0      Make:     Harley Davidson                             Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:    Dyna                                              Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:     2001                                              Debtor 2 only                                     Current value of the     Current value of the
             Approximate mileage:   Unknown                              Debtor 1 and Debtor 2 only                        entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
            Location: 201 Pena Abode Road
            Vacaville, CA 95687                                          Check if this is community property                      $15,000.00                  $15,000.00
                                                                         (see instructions)




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     Debtor 1        Kyle Curtis Ash                                                                                    Case number (if known)

    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

            No
            Yes

      4.1    Make:       Suzuki                                    Who has an interest in the property? Check one
                                                                                                                                  Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
             Model:      Dirtbike                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
             Year:                                                       Debtor 2 only                                            Current value of the     Current value of the
                                                                         Debtor 1 and Debtor 2 only                               entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
             Location: 201 Pena Abode                                    Check if this is community property                              $3,000.00                    $3,000.00
             Road Vacaville, CA 95687                                    (see instructions)




     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>               $316,000.00


     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
         No
            Yes. Describe.....

                                        Misc. Household goods & furnishings
                                        Location: 265 N. Orchard Ave., Vacaville CA 95688                                                                               $3,000.00


    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
          No
            Yes. Describe.....

                                        Misc. electronics
                                        Location: 265 N. Orchard Ave., Vacaville CA 95688                                                                               $2,000.00


    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
            No
            Yes. Describe.....

    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
         No
            Yes. Describe.....

                                        Misc sports & hobby equipment
                                        Location: 265 N. Orchard Ave., Vacaville CA 95688                                                                               $2,000.00


    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe.....

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    11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          No
            Yes. Describe.....

                                                Misc. clothing
                                                Location: 265 N. Orchard Ave., Vacaville CA 95688                                                                       $1,500.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
          No
            Yes. Describe.....

                                                Misc. jewelry
                                                Location: 265 N. Orchard Ave., Vacaville CA 95688                                                                       $5,000.00


    13. Non-farm animals
        Examples: Dogs, cats, birds, horses
            No
            Yes. Describe.....

    14. Any other personal and household items you did not already list, including any health aids you did not list
            No
            Yes. Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                        $13,500.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

    16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
         No
            Yes................................................................................................................

                                                                                                                                     Cash                             $15,000.00


    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                      institutions. If you have multiple accounts with the same institution, list each.
         No
         Yes........................                                     Institution name:


                                                  17.1.       Checking                                Travis Credit Union                                             $12,500.00



                                                  17.2.       Checking                                Chase Bank                                                        $8,000.00



                                                  17.3.       Savings                                 Bank of America                                                         $0.00



                                                  17.4.       Savings                                 USAA                                                                  $19.00

    Official Form 106A/B                                                                       Schedule A/B: Property                                                        page 8
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    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
         No
         Yes..................        Institution or issuer name:


                                                    E trade account                                                                                  $800.00


    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
          No
            Yes. Give specific information about them...................
                                       Name of entity:                                                             % of ownership:

                                                AKC Properties, LLC
                                                Closely held company                                                     100         %             Unknown


                                                D & D Reit
                                                Closely held company                                                     15          %             Unknown


    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific information about them
                                        Issuer name:

    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
            No
            Yes. List each account separately.
                                    Type of account:                            Institution name:

    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
            No
            Yes. .....................                                          Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
            No
            Yes.............             Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
            No
            Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
          No
            Yes. Give specific information about them...

                                                    Executor of Grandparents trusts
                                                    also Owns 20%                                                                                  Unknown


    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
            No
            Yes. Give specific information about them...


    Official Form 106A/B                                                   Schedule A/B: Property                                                       page 9
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    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
            No
            Yes. Give specific information about them...

     Money or property owed to you?                                                                                                                                Current value of the
                                                                                                                                                                   portion you own?
                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                   claims or exemptions.

    28. Tax refunds owed to you
            No
            Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information......


    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                  benefits; unpaid loans you made to someone else
          No
            Yes. Give specific information..

                                                              VA Disability
                                                              $3,200.00 monthly                                                                                                 Unknown


    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
            No
            Yes. Name the insurance company of each policy and list its value.
                                     Company name:                                                                        Beneficiary:                              Surrender or refund
                                                                                                                                                                    value:

    32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
            No
            Yes. Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
          No
            Yes. Describe each claim.........

                                                              3M ear plugs (worn in Iraq) Class action lawsuit                                                                  Unknown


    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
            No
            Yes. Describe each claim.........

    35. Any financial assets you did not already list
            No
            Yes. Give specific information..


     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................          $36,319.00



    Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 10
    Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 03/16/21                                                                            Case 21-20922                                                                                      Doc 1
     Debtor 1        Kyle Curtis Ash                                                                                                 Case number (if known)

     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.

           Yes. Go to line 38.


                                                                                                                                                                   Current value of the
                                                                                                                                                                   portion you own?
                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                   claims or exemptions.

    38. Accounts receivable or commissions you already earned
            No
            Yes. Describe.....


    39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
            No
            Yes. Describe.....


    40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
         No
            Yes. Describe.....


                                            Misc. tools
                                            Location: 265 N. Orchard Ave., Vacaville CA 95688                                                                                 $30,000.00


    41. Inventory
            No
            Yes. Describe.....


    42. Interests in partnerships or joint ventures
            No
            Yes. Give specific information about them...................
                                       Name of entity:                                                                                 % of ownership:


    43. Customer lists, mailing lists, or other compilations
           No.
           Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                      No
                      Yes. Describe.....


    44. Any business-related property you did not already list
            No
            Yes. Give specific information.........



     45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
         for Part 5. Write that number here.....................................................................................................................          $30,000.00

     Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
    Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 11
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Filed 03/16/21                                                                                Case 21-20922                                                                                   Doc 1
     Debtor 1         Kyle Curtis Ash                                                                                                       Case number (if known)

               Yes. Go to line 47.


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
            No
            Yes. Give specific information.........


     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

     Part 8:         List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................          $4,505,000.00
     56. Part 2: Total vehicles, line 5                                                                         $316,000.00
     57. Part 3: Total personal and household items, line 15                                                     $13,500.00
     58. Part 4: Total financial assets, line 36                                                                 $36,319.00
     59. Part 5: Total business-related property, line 45                                                        $30,000.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
     61. Part 7: Total other property not listed, line 54                                             +               $0.00

     62. Total personal property. Add lines 56 through 61...                                                    $395,819.00               Copy personal property total        $395,819.00

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $4,900,819.00




    Official Form 106A/B                                                               Schedule A/B: Property                                                                         page 12
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Filed 03/16/21                                                                  Case 21-20922                                                                              Doc 1

     Fill in this information to identify your case:

     Debtor 1                 Kyle Curtis Ash
                              First Name                        Middle Name                 Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name                 Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                               Check if this is an
                                                                                                                                              amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

               You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

               You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

          265 N. Orchard Ave. Vacaville, CA                              $530,000.00                               $30,825.00      C.C.P. § 703.140(b)(5)
          95688 Solano County
          Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

          Misc. Household goods &                                          $3,000.00                                 $3,000.00     C.C.P. § 703.140(b)(3)
          furnishings
          Location: 265 N. Orchard Ave.,                                                       100% of fair market value, up to
          Vacaville CA 95688                                                                   any applicable statutory limit
          Line from Schedule A/B: 6.1

          Misc. electronics                                                $2,000.00                                 $2,000.00     C.C.P. § 703.140(b)(3)
          Location: 265 N. Orchard Ave.,
          Vacaville CA 95688                                                                   100% of fair market value, up to
          Line from Schedule A/B: 7.1                                                          any applicable statutory limit

          Misc sports & hobby equipment                                    $2,000.00                                      $0.00    C.C.P. § 703.140(b)(5)
          Location: 265 N. Orchard Ave.,
          Vacaville CA 95688                                                                   100% of fair market value, up to
          Line from Schedule A/B: 9.1                                                          any applicable statutory limit

          Misc. clothing                                                   $1,500.00                                 $1,500.00     C.C.P. § 703.140(b)(3)
          Location: 265 N. Orchard Ave.,
          Vacaville CA 95688                                                                   100% of fair market value, up to
          Line from Schedule A/B: 11.1                                                         any applicable statutory limit



    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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Filed 03/16/21                                                                  Case 21-20922                                                                                Doc 1

     Debtor 1    Kyle Curtis Ash                                                                             Case number (if known)

         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Misc. jewelry                                                    $5,000.00                                  $1,750.00        C.C.P. § 703.140(b)(4)
         Location: 265 N. Orchard Ave.,
         Vacaville CA 95688                                                                    100% of fair market value, up to
         Line from Schedule A/B: 12.1                                                          any applicable statutory limit

         VA Disability                                                    Unknown                                         $0.00       C.C.P. § 703.140(b)(10)(B)
         $3,200.00 monthly
         Line from Schedule A/B: 30.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         3M ear plugs (worn in Iraq) Class                                Unknown                                         $0.00       C.C.P. § 703.140(b)(11)(D)
         action lawsuit
         Line from Schedule A/B: 33.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         Misc. tools                                                     $30,000.00                                  $8,725.00        C.C.P. § 703.140(b)(6)
         Location: 265 N. Orchard Ave.,
         Vacaville CA 95688                                                                    100% of fair market value, up to
         Line from Schedule A/B: 40.1                                                          any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
                No
                Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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Filed 03/16/21                                                                    Case 21-20922                                                                                     Doc 1

     Fill in this information to identify your case:

     Debtor 1                   Kyle Curtis Ash
                                First Name                      Middle Name                      Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                      Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                       Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
             ACM Investor Services,
     2.1                                                                                                          $282,765.72               $500,000.00                     $0.00
             Inc.                                     Describe the property that secures the claim:
             Creditor's Name                          531 Westwood Court Vacaville, CA
                                                      95688 Solano County
                                                      As of the date you file, the claim is: Check all that
             1101 Fifth Ave. #220                     apply.
             San Rafael, CA 94901                         Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                           car loan)
         Debtor 2 only
           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
           Check if this claim relates to a               Other (including a right to offset)   Deed of Trust
           community debt

     Date debt was incurred                                    Last 4 digits of account number        5095




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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Filed 03/16/21                                                                       Case 21-20922                                                                                      Doc 1

     Debtor 1 Kyle Curtis Ash                                                                                     Case number (if known)
                   First Name                  Middle Name                      Last Name


             Wells Fargo Home
     2.2                                                Describe the property that secures the claim:                   $136,408.00                $375,000.00                  $0.00
             Mortgage
             Creditor's Name                            600 Coleman Circle Vacaville, CA
                                                        95688 Solano County
                                                        As of the date you file, the claim is: Check all that
             PO Box 10335                               apply.
             Des Moines, IA 50306                            Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
           Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                              car loan)
           Debtor 2 only
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
           At least one of the debtors and another           Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
           community debt

     Date debt was incurred          03/06/2008                  Last 4 digits of account number         2004


       Add the dollar value of your entries in Column A on this page. Write that number here:                                    $419,173.72
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                                   $419,173.72

     Part 2:      List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.

     [ ]
                Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
                D&D Reit, Inc.
                1 Sansome Street                                                                          Last 4 digits of account number   5095
                San Francisco, CA 94104

     [ ]
                Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
                Entra Default Solutions, LLC
                1355 Willow Way, Suite 115                                                                Last 4 digits of account number   5095
                Concord, CA 94520

     [ ]
                Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
                John Chigbu
                c/o D&D Reit, Inc.                                                                        Last 4 digits of account number   5095
                265 N Orchard Ave
                Vacaville, CA 95688




    Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 2
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Filed 03/16/21                                                                     Case 21-20922                                                                                            Doc 1

     Fill in this information to identify your case:

     Debtor 1                   Kyle Curtis Ash
                                First Name                      Middle Name                       Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                       Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                               Check if this is an
                                                                                                                                                              amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?

               No. Go to Part 2.
               Yes.

     Part 2:        List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

               No. You have nothing to report in this part. Submit this form to the court with your other schedules.

               Yes.

     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                  Total claim

     4.1          Capital One Bank                                        Last 4 digits of account number         5307                                                           $500.00
                  Nonpriority Creditor's Name
                  P.O. Box 31293                                          When was the debt incurred?
                  Salt Lake City, UT 84130
                  Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.

                      Debtor 1 only                                           Contingent
                      Debtor 2 only                                           Unliquidated
                      Debtor 1 and Debtor 2 only                              Disputed
                      At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                      Check if this claim is for a community                  Student loans
                  debt                                                       Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                         report as priority claims

                      No                                                      Debts to pension or profit-sharing plans, and other similar debts

                      Yes                                                     Other. Specify   Credit card purchases




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 3
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Filed 03/16/21                                                                     Case 21-20922                                                                               Doc 1
     Debtor 1 Kyle Curtis Ash                                                                                 Case number (if known)

     4.2       Midland States BK/Greensky                                Last 4 digits of account number         2306                                              $538.00
               Nonpriority Creditor's Name
               1797 N East Expy NE                                       When was the debt incurred?
               Atlanta, GA 30329
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                   Debtor 1 only                                              Contingent
                   Debtor 2 only                                              Unliquidated
                   Debtor 1 and Debtor 2 only                                 Disputed
                   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                     Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                   No                                                         Debts to pension or profit-sharing plans, and other similar debts

                   Yes                                                        Other. Specify   Collection account


     4.3       Travis Credit Union                                       Last 4 digits of account number         2306                                            $4,655.00
               Nonpriority Creditor's Name
               1 Travis Way                                              When was the debt incurred?
               Vacaville, CA 95687
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                   Debtor 1 only                                              Contingent
                   Debtor 2 only                                              Unliquidated
                   Debtor 1 and Debtor 2 only                                 Disputed
                   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                     Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                   No                                                         Debts to pension or profit-sharing plans, and other similar debts

                   Yes                                                        Other. Specify   Credit card purchases

     Part 3:       List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Part 4:       Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                     Total Claim
                            6a.    Domestic support obligations                                                  6a.       $                         0.00
     Total
     claims
     from Part 1            6b.    Taxes and certain other debts you owe the government                          6b.       $                         0.00
                            6c.    Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                            6d.    Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                            6e.    Total Priority. Add lines 6a through 6d.                                      6e.       $                         0.00

                                                                                                                                     Total Claim
                            6f.    Student loans                                                                 6f.       $                         0.00
     Total
     claims
     from Part 2            6g.    Obligations arising out of a separation agreement or divorce that
                                   you did not report as priority claims                                         6g.       $                         0.00
                            6h.    Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                            6i.    Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                                   here.                                                                                   $                      5,693.00

    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 3
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Filed 03/16/21                                                                  Case 21-20922                                                             Doc 1
     Debtor 1 Kyle Curtis Ash                                                                       Case number (if known)


                            6j.   Total Nonpriority. Add lines 6f through 6i.                          6j.      $            5,693.00




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 3 of 3
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Filed 03/16/21                                                                       Case 21-20922                                                                      Doc 1

     Fill in this information to identify your case:

     Debtor 1                  Kyle Curtis Ash
                               First Name                         Middle Name              Last Name

     Debtor 2
     (Spouse if, filing)       First Name                         Middle Name              Last Name


     United States Bankruptcy Court for the:               EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.      Do you have any executory contracts or unexpired leases?
                  No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
            example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
            and unexpired leases.


             Person or company with whom you have the contract or lease                      State what the contract or lease is for
                               Name, Number, Street, City, State and ZIP Code
      2.1
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.2
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.3
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.4
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.5
               Name


               Number        Street

               City                                     State                   ZIP Code




    Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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Filed 03/16/21                                                                         Case 21-20922                                                                    Doc 1

     Fill in this information to identify your case:

     Debtor 1                     Kyle Curtis Ash
                                  First Name                            Middle Name           Last Name

     Debtor 2
     (Spouse if, filing)          First Name                            Middle Name           Last Name


     United States Bankruptcy Court for the:                   EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                              Check if this is an
                                                                                                                                             amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                               12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

               No
               Yes

           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

               No. Go to line 3.
               Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                           No
                           Yes.


                             In which community state or territory did you live?              California      . Fill in the name and current address of that person.


                             Name of your spouse, former spouse, or legal equivalent
                             Number, Street, City, State & Zip Code

       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
          out Column 2.

                    Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                            Check all schedules that apply:

        3.1                                                                                                      Schedule D, line
                    Name
                                                                                                                 Schedule E/F, line
                                                                                                                 Schedule G, line
                    Number               Street
                    City                                        State                          ZIP Code




        3.2                                                                                                      Schedule D, line
                    Name
                                                                                                                 Schedule E/F, line
                                                                                                                 Schedule G, line
                    Number               Street
                    City                                        State                          ZIP Code




    Official Form 106H                                                                    Schedule H: Your Codebtors                                      Page 1 of 1
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Filed 03/16/21                                                         Case 21-20922                                                                          Doc 1



     Fill in this information to identify your case:

     Debtor 1                      Kyle Curtis Ash

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                            Check if this is:
     (If known)
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter
                                                                                                               13 income as of the following date:

     Official Form 106I                                                                                        MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                           12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                  Debtor 2 or non-filing spouse

            If you have more than one job,                                 Employed                                  Employed
            attach a separate page with           Employment status
                                                                           Not employed                              Not employed
            information about additional
            employers.
                                                  Occupation            Owner
            Include part-time, seasonal, or
            self-employed work.                   Employer's name       AKC Properties

            Occupation may include student        Employer's address
                                                                        265 N. Orchard Ave.
            or homemaker, if it applies.
                                                                        Vacaville, CA 95688

                                                  How long employed there?         12 Years

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1       For Debtor 2 or
                                                                                                                             non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $             0.00     $               N/A

     3.     Estimate and list monthly overtime pay.                                             3.   +$             0.00     +$              N/A

     4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $          0.00            $        N/A




    Official Form 106I                                                       Schedule I: Your Income                                                page 1
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     Debtor 1   Kyle Curtis Ash                                                                       Case number (if known)



                                                                                                          For Debtor 1            For Debtor 2 or
                                                                                                                                  non-filing spouse
          Copy line 4 here                                                                     4.         $              0.00     $             N/A

     5.   List all payroll deductions:
          5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
          5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
          5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
          5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
          5e.    Insurance                                                                     5e.        $              0.00     $               N/A
          5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
          5g.    Union dues                                                                    5g.        $              0.00     $               N/A
          5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.        $        7,432.50       $               N/A
          8b. Interest and dividends                                                           8b.        $            0.00       $               N/A
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.        $              0.00     $               N/A
          8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
          8e. Social Security                                                                  8e.        $              0.00     $               N/A
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.  $                  0.00   $                   N/A
          8g. Pension or retirement income                                                     8g. $                   0.00   $                   N/A
          8h. Other monthly income. Specify: VA Disability                                     8h.+ $              3,200.00 + $                   N/A

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          10,632.50        $               N/A

     10. Calculate monthly income. Add line 7 + line 9.                                    10. $              10,632.50 + $            N/A = $          10,632.50
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                    0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                        12.   $         10,632.50
                                                                                                                                              Combined
                                                                                                                                              monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
               No.
               Yes. Explain:




    Official Form 106I                                                      Schedule I: Your Income                                                       page 2
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Filed 03/16/21   Case 21-20922   Doc 1
Filed 03/16/21                                                               Case 21-20922                                                                          Doc 1



      Fill in this information to identify your case:

      Debtor 1                 Kyle Curtis Ash                                                                   Check if this is:
                                                                                                                     An amended filing
      Debtor 2                                                                                                       A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                            13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                                12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                 No. Go to line 2.
                 Yes. Does Debtor 2 live in a separate household?
                            No
                            Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?               No
            Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

            Do not state the                                                                                                                      No
            dependents names.                                                                                                                     Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
      3.    Do your expenses include                     No
            expenses of people other than
            yourself and your dependents?                Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                       Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                                  0.00

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                             0.00
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           150.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




      Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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      Debtor 1     Kyle Curtis Ash                                                                           Case number (if known)

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                     6a. $                                                 200.00
            6b. Water, sewer, garbage collection                                                   6b. $                                                 150.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 150.00
            6d. Other. Specify:                                                                    6d. $                                                   0.00
      7.    Food and housekeeping supplies                                                           7. $                                                350.00
      8.    Childcare and children’s education costs                                                 8. $                                                  0.00
      9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
      10.   Personal care products and services                                                    10. $                                                  40.00
      11.   Medical and dental expenses                                                            11. $                                                   0.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                           12. $                                                 550.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 150.00
      14.   Charitable contributions and religious donations                                       14. $                                                   0.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                                                    0.00
            15b. Health insurance                                                                15b. $                                                    0.00
            15c. Vehicle insurance                                                               15c. $                                                  255.00
            15d. Other insurance. Specify:                                                       15d. $                                                    0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                               16. $                                                    0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
            17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
            17c. Other. Specify:                                                                 17c. $                                                     0.00
            17d. Other. Specify:                                                                 17d. $                                                     0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
      19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
            Specify:                                                                               19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                                                    0.00
            20b. Real estate taxes                                                               20b. $                                                    0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
      21.   Other: Specify:    Misc expenses                                                       21. +$                                                300.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                     $                       2,395.00
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,395.00
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              10,632.50
          23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,395.00

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                              8,237.50

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
               No.
               Yes.             Explain here:




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 03/16/21                                                                Case 21-20922                                                                             Doc 1




     Fill in this information to identify your case:

     Debtor 1                    Kyle Curtis Ash
                                 First Name                     Middle Name             Last Name

     Debtor 2
     (Spouse if, filing)         First Name                     Middle Name             Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                           Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                          12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                    No

                    Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Kyle Curtis Ash                                                       X
                  Kyle Curtis Ash                                                           Signature of Debtor 2
                  Signature of Debtor 1

                  Date       March 15, 2021                                                 Date




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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Filed 03/16/21                                                                  Case 21-20922                                                                             Doc 1




     Fill in this information to identify your case:

     Debtor 1                  Kyle Curtis Ash
                               First Name                       Middle Name                  Last Name

     Debtor 2
     (Spouse if, filing)       First Name                       Middle Name                  Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                Check if this is an
                                                                                                                                               amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/19
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                   Married
                   Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                   No
                   Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                     lived there                                                                   lived there
            531 Westwood Court                                       From-To:                       Same as Debtor 1                                  Same as Debtor 1
            Vacaville, CA 95688                                      1/2 my time is                                                                From-To:
                                                                     spent at this
                                                                     address

    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                   No
                   Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                   No
                   Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income           Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                        exclusions)                                                and exclusions)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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Filed 03/16/21                                                                  Case 21-20922                                                                          Doc 1
     Debtor 1      Kyle Curtis Ash                                                                             Case number (if known)



                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income         Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                        exclusions)                                              and exclusions)

     From January 1 of current year until                Wages, commissions,                        $31,800.00           Wages, commissions,
     the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                           Operating a business                                           Operating a business


     For last calendar year:                             Wages, commissions,                       $127,200.00           Wages, commissions,
     (January 1 to December 31, 2020 )                 bonuses, tips                                                   bonuses, tips

                                                           Operating a business                                           Operating a business


     For the calendar year before that:                  Wages, commissions,                       $127,200.00           Wages, commissions,
     (January 1 to December 31, 2019 )                 bonuses, tips                                                   bonuses, tips

                                                           Operating a business                                           Operating a business


    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
          and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
          winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
                Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income from              Sources of income         Gross income
                                                       Describe below.                  each source                    Describe below.           (before deductions
                                                                                        (before deductions and                                   and exclusions)
                                                                                        exclusions)
     From January 1 of current year until VA Disability                                               $9,600.00
     the date you filed for bankruptcy:

     For last calendar year:                           VA Disability                                $38,400.00
     (January 1 to December 31, 2020 )

     For the calendar year before that:                VA Disability                                $38,400.00
     (January 1 to December 31, 2019 )


     Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
               No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                     individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                              No.      Go to line 7.
                              Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attorney for this bankruptcy case.
                         * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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Filed 03/16/21                                                                  Case 21-20922                                                                               Doc 1
     Debtor 1      Kyle Curtis Ash                                                                             Case number (if known)




                Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                              No.      Go to line 7.
                              Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                       attorney for this bankruptcy case.


           Creditor's Name and Address                               Dates of payment            Total amount          Amount you        Was this payment for ...
                                                                                                         paid            still owe
           Wells Fargo Home Mortgage                                 01/2021, 02/2021 &             $4,065.00         $136,408.00          Mortgage
           PO Box 10335                                              03/2021                                                               Car
           Des Moines, IA 50306
                                                                                                                                           Credit Card
                                                                                                                                           Loan Repayment
                                                                                                                                           Suppliers or vendors
                                                                                                                                           Other


    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
          of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
          a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
          alimony.

                No
                Yes. List all payments to an insider.
           Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                         paid            still owe

    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

                No
                Yes. List all payments to an insider
           Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                         paid            still owe       Include creditor's name

     Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
          modifications, and contract disputes.

                No
                Yes. Fill in the details.
           Case title                                                Nature of the case         Court or agency                          Status of the case
           Case number

    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

                No. Go to line 11.
                Yes. Fill in the information below.
           Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                                 property
                                                                     Explain what happened




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
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Filed 03/16/21                                                                  Case 21-20922                                                                           Doc 1
     Debtor 1      Kyle Curtis Ash                                                                             Case number (if known)



    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
                No
                Yes. Fill in the details.
           Creditor Name and Address                                 Describe the action the creditor took                        Date action was             Amount
                                                                                                                                  taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

                No
                Yes

     Part 5:      List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                No
                Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
           per person                                                                                                             the gifts

           Person to Whom You Gave the Gift and
           Address:

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
                No
                Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)

     Part 6:      List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
        or gambling?

                No
                Yes. Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
           how the loss occurred                                                                                                  loss                           lost
                                                                Include the amount that insurance has paid. List pending
                                                                insurance claims on line 33 of Schedule A/B: Property.

     Part 7:      List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
           Address                                                       transferred                                              or transfer was           payment
           Email or website address                                                                                               made
           Person Who Made the Payment, if Not You
           Law Offices of Joseph C. Rosenblit                            Attorney Fees                                            02/2021                  $5,000.00
           1370 N. Brea Blvd., Suite 235
           Fullerton, CA 92835
           rosenblitlawyer@gmail.com




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
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     Debtor 1      Kyle Curtis Ash                                                                             Case number (if known)



    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
           Address                                                       transferred                                              or transfer was            payment
                                                                                                                                  made

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
        include gifts and transfers that you have already listed on this statement.
                No
                Yes. Fill in the details.
           Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
           Address                                                       property transferred                       payments received or debts      made
                                                                                                                    paid in exchange
           Person's relationship to you

    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
                No
                Yes. Fill in the details.
           Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                    made

     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
                No
                Yes. Fill in the details.
           Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
           Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
           Code)                                                                                                            moved, or                         transfer
                                                                                                                            transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

                No
                Yes. Fill in the details.
           Name of Financial Institution                                 Who else had access to it?            Describe the contents                  Do you still
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                         State and ZIP Code)


    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

                No
                Yes. Fill in the details.
           Name of Storage Facility                                      Who else has or had access            Describe the contents                  Do you still
           Address (Number, Street, City, State and ZIP Code)            to it?                                                                       have it?
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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     Part 9:      Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

                No
                Yes. Fill in the details.
           Owner's Name                                                  Where is the property?                     Describe the property                      Value
           Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                         Code)

     Part 10:     Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
          regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
          to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    25. Have you notified any governmental unit of any release of hazardous material?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No
                Yes. Fill in the details.
           Case Title                                                    Court or agency                            Nature of the case             Status of the
           Case Number                                                   Name                                                                      case
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 11:     Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                    A member of a limited liability company (LLC) or limited liability partnership (LLP)

                    A partner in a partnership

                    An officer, director, or managing executive of a corporation

                    An owner of at least 5% of the voting or equity securities of a corporation




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 6
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                 No. None of the above applies. Go to Part 12.

                 Yes. Check all that apply above and fill in the details below for each business.
            Business Name                                            Describe the nature of the business             Employer Identification number
            Address                                                                                                  Do not include Social Security number or ITIN.
            (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed
            AKC Properties, LLC                                      Property investment                             EIN:
            531 Westwood Court
            Vacaville, CA 95688                                                                                      From-To      02/01/2017 to current

            Curtis Property Investments, LLC                         Property Investment                             EIN:
            531 Westwood Court
            Vacaville, CA 95688                                      Marjan Mohyee                                   From-To      02/01/2017 to current

            D&D Reit, Inc.                                           Real Estate Investment Trust                    EIN:
            1 Sansome Street
            Suite 3500                                                                                               From-To      12/06/2017 to current
            San Francisco, CA 94104


    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

                 No
                 Yes. Fill in the details below.
            Name                                                     Date Issued
            Address
            (Number, Street, City, State and ZIP Code)

     Part 12:     Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
    are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

     /s/ Kyle Curtis Ash
     Kyle Curtis Ash                                                         Signature of Debtor 2
     Signature of Debtor 1

     Date      March 15, 2021                                                Date

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
       No
       Yes

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       No
       Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 7
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     Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

     Debtor 1              Kyle Curtis Ash                                                                         According to the calculations required by this
                                                                                                                   Statement:
     Debtor 2                                                                                                            1. Disposable income is not determined under
     (Spouse, if filing)
                                                                                                                            11 U.S.C. § 1325(b)(3).
     United States Bankruptcy Court for the:            Eastern District of California                                   2. Disposable income is determined under 11
                                                                                                                            U.S.C. § 1325(b)(3).
     Case number
     (if known)
                                                                                                                         3. The commitment period is 3 years.

                                                                                                                         4. The commitment period is 5 years.

                                                                                                                       Check if this is an amended filing

    Official Form 122C-1
    Chapter 13 Statement of Your Current Monthly Income
    and Calculation of Commitment Period                                                                                                                                04/20

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
    space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
    additional pages, write your name and case number (if known).

     Part 1:           Calculate Your Average Monthly Income

      1. What is your marital and filing status? Check one only.
                  Not married. Fill out Column A, lines 2-11.
                  Married. Fill out both Columns A and B, lines 2-11.


        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A                Column B
                                                                                                            Debtor 1                Debtor 2 or
                                                                                                                                    non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                           $                                 0.00      $
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                                             $             0.00      $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Do not include payments from a spouse. Do not include payments
         you listed on line 3.                                                             $                              0.00      $
      5. Net income from operating a business,
         profession, or farm                                                  Debtor 1
            Gross receipts (before all deductions)                              $        0.00
            Ordinary and necessary operating expenses                           -$       0.00
            Net monthly income from a business, profession, or farm $                    0.00 Copy here -> $              0.00      $
      6. Net income from rental and other real property                       Debtor 1
            Gross receipts (before all deductions)                       $               10,600.00
            Ordinary and necessary operating expenses                    -$                   0.00
            Net monthly income from rental or other real                                             Copy
            property                                                     $               10,600.00 here -> $       10,600.00        $




    Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 1
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Filed 03/16/21                                                               Case 21-20922                                                                                 Doc 1

     Debtor 1     Kyle Curtis Ash                                                                        Case number (if known)


                                                                                                     Column A                      Column B
                                                                                                     Debtor 1                      Debtor 2 or
                                                                                                                                   non-filing spouse
                                                                                                     $                  0.00       $
      7. Interest, dividends, and royalties
      8. Unemployment compensation                                                                   $                  0.00       $
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here:
              For you                                          $                    0.00
                For your spouse                                          $
      9. Pension or retirement income. Do not include any amount received that was a
         benefit under the Social Security Act. Also, except as stated in the next sentence, do
         not include any compensation, pension, pay, annuity, or allowance paid by the
         United States Government in connection with a disability, combat-related injury or
         disability, or death of a member of the uniformed services. If you received any retired
         pay paid under chapter 61 of title 10, then include that pay only to the extent that it
         does not exceed the amount of retired pay to which you would otherwise be entitled
         if retired under any provision of title 10 other than chapter 61 of that title.         $                      0.00       $
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act; payments made
          under the Federal law relating to the national emergency declared by the President
          under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
          coronavirus disease 2019 (COVID-19); payments received as a victim of a war
          crime, a crime against humanity, or international or domestic terrorism; or
          compensation, pension, pay, annuity, or allowance paid by the United States
          Government in connection with a disability, combat-related injury or disability, or
          death of a member of the uniformed services. If necessary, list other sources on a
          separate page and put the total below.
                                                                                                     $                  0.00       $
                                                                                                     $                  0.00       $
                      Total amounts from separate pages, if any.                                 +   $                  0.00       $

      11. Calculate your total average monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.           $    10,600.00             +   $                  =    $     10,600.00

                                                                                                                                                       Total average
                                                                                                                                                       monthly income
     Part 2:        Determine How to Measure Your Deductions from Income

      12. Copy your total average monthly income from line 11.                                                                                 $         10,600.00
      13. Calculate the marital adjustment. Check one:
                  You are not married. Fill in 0 below.
                  You are married and your spouse is filing with you. Fill in 0 below.
                  You are married and your spouse is not filing with you.
                  Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
                  dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
                  Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
                  adjustments on a separate page.
                  If this adjustment does not apply, enter 0 below.
                                                                                             $
                                                                                             $
                                                                                           +$

                         Total                                                              $                   0.00           Copy here=>         -               0.00


      14. Your current monthly income. Subtract line 13 from line 12.                                                                          $         10,600.00

      15. Calculate your current monthly income for the year. Follow these steps:
            15a. Copy line 14 here=>                                                                                                           $         10,600.00



    Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                      page 2
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     Debtor 1    Kyle Curtis Ash                                                                                Case number (if known)


                    Multiply line 15a by 12 (the number of months in a year).                                                                        x 12

            15b. The result is your current monthly income for the year for this part of the form. ...........................................   $    127,200.00




    Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                   page 3
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     Debtor 1     Kyle Curtis Ash                                                                    Case number (if known)




      16. Calculate the median family income that applies to you. Follow these steps:
           16a. Fill in the state in which you live.                         CA

           16b. Fill in the number of people in your household.               1
           16c. Fill in the median family income for your state and size of household.                                                       $     62,171.00
                To find a list of applicable median income amounts, go online using the link specified in the separate
                instructions for this form. This list may also be available at the bankruptcy clerk's office.
      17. How do the lines compare?
           17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                          11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

           17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                          1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                          your current monthly income from line 14 above.
     Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

     18. Copy your total average monthly income from line 11 .                                                                       $               10,600.00
     19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
         contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
         spouse's income, copy the amount from line 13.
         19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                       0.00


           19b. Subtract line 19a from line 18.                                                                                          $         10,600.00


     20. Calculate your current monthly income for the year. Follow these steps:
           20a. Copy line 19b                                                                                                                $     10,600.00

                  Multiply by 12 (the number of months in a year).                                                                               x 12

           20b. The result is your current monthly income for the year for this part of the form                                             $    127,200.00




           20c. Copy the median family income for your state and size of household from line 16c                                             $     62,171.00


           21. How do the lines compare?

                       Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                       period is 3 years. Go to Part 4.

                       Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                       commitment period is 5 years. Go to Part 4.

     Part 4:       Sign Below
           By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

        X /s/ Kyle Curtis Ash
            Kyle Curtis Ash
            Signature of Debtor 1
           Date March 15, 2021
                MM / DD / YYYY
           If you checked 17a, do NOT fill out or file Form 122C-2.
           If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




    Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                               page 4
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Filed 03/16/21                                                                 Case 21-20922                                                                       Doc 1


     Fill in this information to identify your case:

     Debtor 1            Kyle Curtis Ash

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:            Eastern District of California

     Case number
     (if known)                                                                                                    Check if this is an amended filing

    Official Form 122C-2
    Chapter 13 Calculation of Your Disposable Income                                                                                                         04/19

    To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
    Commitment Period (Official Form 122C-1).

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
    space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
    additional pages, write your name and case number (if known).

     Part 1:       Calculate Your Deductions from Your Income

        The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
        the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
        information may also be available at the bankruptcy clerk’s office.

        Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
        expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
        122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

        If your expenses differ from month to month, enter the average expense.

        Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

        5.     The number of people used in determining your deductions from income

               Fill in the number of people who could be claimed as exemptions on your federal income tax return,
               plus the number of any additional dependents whom you support. This number may be different from                    1
               the number of people in your household.



        National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



        6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
               Standards, fill in the dollar amount for food, clothing, and other items.                                               $               715.00


        7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
               the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
               people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
               higher than this IRS amount, you may deduct the additional amount on line 22.




    Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                        page 1
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Filed 03/16/21                                                                Case 21-20922                                                                                 Doc 1

     Debtor 1         Kyle Curtis Ash                                                                    Case number (if known)



        People who are under 65 years of age
                7a. Out-of-pocket health care allowance per person              $             56
                7b. Number of people who are under 65                           X         1
                7c. Subtotal. Multiply line 7a by line 7b.                      $        56.00            Copy here=>        $           56.00

        People who are 65 years of age or older

                7d. Out-of-pocket health care allowance per person              $          125
                7e. Number of people who are 65 or older                        X         0
                7f.     Subtotal. Multiply line 7d by line 7e.                  $         0.00            Copy here=>        $             0.00

                7g. Total. Add line 7c and line 7f                                                 $      56.00                   Copy total here=> $          56.00


        Local Standards           You must use the IRS Local Standards to answer the questions in lines 8-15.
        Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
        bankruptcy purposes into two parts:
             Housing and utilities - Insurance and operating expenses
             Housing and utilities - Mortgage or rent expenses
        To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
        separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
        8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
            in the dollar amount listed for your county for insurance and operating expenses.                               $               507.00
        9.      Housing and utilities - Mortgage or rent expenses:
                9a. Using the number of people you entered in line 5, fill in the dollar amount
                    listed for your county for mortgage or rent expenses.                                                    $        1,526.00

                9b. Total average monthly payment for all mortgages and other debts secured by your home.
                        To calculate the total average monthly payment, add all amounts that are
                        contractually due to each secured creditor in the 60 months after you file
                        for bankruptcy. Next divide by 60.

                       Name of the creditor                                         Average monthly
                                                                                    payment

                        Wells Fargo Home Mortgage                                   $         1,355.00

                                                                                                          Copy                                      Repeat this amount
                                         9b. Total average monthly payment          $         1,355.00    here=>        -$             1,355.00 on line 33a.

                9c. Net mortgage or rent expense.

                        Subtract line 9b (total average monthly payment) from line 9a (mortgage                                            Copy
                        or rent expense). If this number is less than $0, enter $0.                          $               171.00        here=>    $          171.00


        10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
            affects the calculation of your monthly expenses, fill in any additional amount you claim.                                              $               0.00

                 Explain why:




    Official Form 122C-2                                         Chapter 13 Calculation of Your Disposable Income                                                page 2
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     Debtor 1     Kyle Curtis Ash                                                                                    Case number (if known)


        11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

                   0. Go to line 14.

                   1. Go to line 12.

                   2 or more. Go to line 12.
        12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
            operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                  $                 0.00
        13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
            You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
            more than two vehicles.
         Vehicle 1         Describe Vehicle 1:

        13a. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
        13b. Average monthly payment for all debts secured by Vehicle 1.
                Do not include costs for leased vehicles.

                To calculate the average monthly payment here and on line 13e, add all amounts that
                are contractually due to each secured creditor in the 60 months after you file for
                bankruptcy. Then divide by 60.

                     Name of each creditor for Vehicle 1                               Average monthly
                                                                                       payment
                                                                                       $
                                                                                                                                                          Repeat this
                                                                                                                      Copy                                amount on
                                             Total Average Monthly Payment             $                              here =>       -$           0.00     line 33b.


        13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                     Vehicle 1
                Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                           $              0.00       =>              $             0.00

         Vehicle 2         Describe Vehicle 2:
        13d. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
        13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
             leased vehicles.

                     Name of each creditor for Vehicle 2                               Average monthly
                                                                                       payment

                                                                                       $

                                                                                                                      Copy                            Repeat this
                                                                                                                      here                            amount on line
                                             Total average monthly payment             $                                                      0.00    33c.
                                                                                                                      =>       -$

        13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                     Vehicle 2
                Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                   expense here
                                                                                                                           $              0.00       =>              $             0.00

        14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
            Public Transportation expense allowance regardless of whether you use public transportation.                                                         $             224.00
        15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
            also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
            not claim more than the IRS Local Standard for Public Transportation.                                                                                $                 0.00




    Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                                page 3
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     Debtor 1     Kyle Curtis Ash                                                                         Case number (if known)


        Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                                the following IRS categories.
        16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
            self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
            your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
            and subtract that number from the total monthly amount that is withheld to pay for taxes.
            Do not include real estate, sales, or use taxes.                                                                                $             0.00
        17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
            contributions, union dues, and uniform costs.
            Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.            $             0.00
        18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
            filing together, include payments that you make for your spouse's term life insurance.
            Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
            of life insurance other than term.                                                                                              $             0.00
        19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
            administrative agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $             0.00
        20. Education: The total monthly amount that you pay for education that is either required:
                   as a condition for your job, or
                   for your physically or mentally challenged dependent child if no public education is available for similar services.     $             0.00
        21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
            Do not include payments for any elementary or secondary school education.                                                       $             0.00
        22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
            that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
            by a health savings account. Include only the amount that is more than the total entered in line 7.
            Payments for health insurance or health savings accounts should be listed only in line 25.                                      $             0.00
        23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
            for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
            phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
            income, if it is not reimbursed by your employer.
            Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
            expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                    +$              0.00

        24. Add all of the expenses allowed under the IRS expense allowances.                                                              $     1,673.00
            Add lines 6 through 23.
        Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                      Note: Do not include any expense allowances listed in lines 6-24.

        25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
            insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
            your dependents.
                Health insurance                                              $           0.00
                Disability insurance                                          $           0.00
                Health savings account                                      +$            0.00

                Total                                                             $        0.00       Copy total here=>                    $              0.00


                Do you actually spend this total amount?
                       No. How much do you actually spend?
                        Yes                                                       $

        26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
            continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
            your household or member of your immediate family who is unable to pay for such expenses. These expenses may
            include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                            $             0.00
        27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
            safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
                By law, the court must keep the nature of these expenses confidential.                                                      $             0.00



    Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                       page 4
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     Debtor 1     Kyle Curtis Ash                                                                                  Case number (if known)

        28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
            line 8.
                If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
                8, then fill in the excess amount of home energy costs
                You must give your case trustee documentation of your actual expenses, and you must show that the additional
                amount claimed is reasonable and necessary.                                                                                                $                 0.00
        29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
            $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
            public elementary or secondary school.
                You must give your case trustee documentation of your actual expenses, and you must explain why the amount
                claimed is reasonable and necessary and not already accounted for in lines 6-23.
                * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.                       $                 0.00
        30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
            higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
            than 5% of the food and clothing allowances in the IRS National Standards.
                To find a chart showing the maximum additional allowance, go online using the link specified in the separate
                instructions for this form. This chart may also be available at the bankruptcy clerk's office.
                You must show that the additional amount claimed is reasonable and necessary.                                                              $                 0.00
        31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
            instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
                Do not include any amount more than 15% of your gross monthly income.                                                                      $                 0.00

        32. Add all of the additional expense deductions.                                                                                                  $             0.00
            Add lines 25 through 31.

        Deductions for Debt Payment

        33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
            loans, and other secured debt, fill in lines 33a through 33e.
              To calculate the total average monthly payment, add all amounts that are contractually due to each secured
              creditor in the 60 months after you file for bankruptcy. Then divide by 60.
                  Mortgages on your home                                                                                                               Average monthly
                                                                                                                                                       payment
        33a.      Copy line 9b here                                                                                                               =>   $           1,355.00
                  Loans on your first two vehicles
        33b.      Copy line 13b here                                                                                                              =>   $                0.00
        33c.      Copy line 13e here                                                                                                              =>   $                0.00
        33d.      List other secured debts:
        Name of each creditor for other secured debt                     Identify property that secures the debt                     Does payment
                                                                                                                                     include taxes
                                                                                                                                     or insurance?
                                                                                                                                            No
                 -NONE-                                                                                                                     Yes        $

                                                                                                                                            No
                                                                                                                                            Yes        $

                                                                                                                                            No
                                                                                                                                            Yes   +    $


                                                                                                                                                  Copy
                                                                                                                                                  total
        33e      Total average monthly payment. Add lines 33a through 33d                                              $           1,355.00       here=>       $    1,355.00




    Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                          page 5
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     Debtor 1      Kyle Curtis Ash                                                                                          Case number (if known)

        34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
            or other property necessary for your support or the support of your dependents?

                   No. Go to line 35.
                   Yes. State any amount that you must pay to a creditor, in addition to the payments
                        listed in line 33, to keep possession of your property (called the cure amount).
                        Next, divide by 60 and fill in the information below.
         Name of the creditor                                         Identify property that secures the debt                    Total cure amount                     Monthly cure
                                                                                                                                                                       amount
         -NONE-                                                                                                              $                              ÷ 60 = $

                                                                                                                                                               Copy
                                                                                                                                                               total
                                                                                                                     Total $                         0.00      here=>           $             0.00

        35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
            are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

                   No. Go to line 36.
                   Yes. Fill in the total amount of all of these priority claims. Do not include current or
                        ongoing priority claims, such as those you listed in line 19.
                              Total amount of all past-due priority claims                                                       $                   0.00       ÷ 60        $                 0.00
        36. Projected monthly Chapter 13 plan payment                                                                            $
            Current multiplier for your district as stated on the list issued by the Administrative
            Office of the United States Courts (for districts in Alabama and North Carolina) or by
            the Executive Office for United States Trustees (for all other districts).                                           X
            To find a list of district multipliers that includes your district, go online using the link specified in the
            separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                             Copy total
            Average monthly administrative expense                                                                                   $                       here=> $



        37. Add all of the deductions for debt payment.                                                                                                                     $        1,355.00
            Add lines 33e through 36.

        Total Deductions from Income
        38. Add all of the allowed deductions.
                Copy line 24, All of the expenses allowed under IRS
                expense allowances                                                                      $        1,673.00
                Copy line 32, All of the additional expense deductions                                  $              0.00
                Copy line 37, All of the deductions for debt payment                                   +$        1,355.00


                Total deductions....................................................................    $        3,028.00                Copy total here=>              $               3,028.00




    Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                                 page 6
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     Debtor 1    Kyle Curtis Ash                                                                           Case number (if known)



     Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

        39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
            Statement of Your Current Monthly Income and Calculation of Commitment Period.                                              $                  10,600.00
        40. Fill in any reasonably necessary income you receive for support for dependent
            children. The monthly average of any child support payments, foster care payments, or
            disability payments for a dependent child, reported in Part I of Form 122C-1, that you
            received in accordance with applicable nonbankruptcy law to the extent reasonably
            necessary to be expended for such child.                                                               $                 0.00
        41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
            employer withheld from wages as contributions for qualified retirement plans, as specified
            in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
            specified in 11 U.S.C. § 362(b)(19).                                                                   $                 0.00
        42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here                =>    $            3,028.00
        43. Deduction for special circumstances. If special circumstances justify additional
            expenses and you have no reasonable alternative, describe the special circumstances and
            their expenses. You must give your case trustee a detailed explanation of the special
            circumstances and documentation for the expenses.

        Describe the special circumstances                                                    Amount of expense

                                                                                          $

                                                                                          $

                                                                                          $

                                                                                                                  Copy
                                                                                Total $               0.00        here=> $                  0.00


                                                                                                                                       Copy
        44. Total adjustments. Add lines 40 through 43.                                               =>      $          3,028.00      here=> -$            3,028.00


        45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                     $          7,572.00


     Part 3:       Change in Income or Expenses

        46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
            have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
            time your case will be open, fill in the information below. For example, if the wages reported increased after
            you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
            wages increased, fill in when the increase occurred, and fill in the amount of the increase.

        Form             Line           Reason for change                                      Date of change          Increase or      Amount of change
                                                                                                                       decrease?
           122C-1                                                                                                         Increase
           122C-2                                                                                                         Decrease      $
           122C-1                                                                                                         Increase
           122C-2                                                                                                         Decrease      $
           122C-1                                                                                                         Increase
           122C-2                                                                                                         Decrease      $
           122C-1                                                                                                         Increase
           122C-2                                                                                                         Decrease      $




    Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                              page 7
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     Debtor 1     Kyle Curtis Ash                                                                      Case number (if known)




     Part 4:        Sign Below



                By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


           X /s/ Kyle Curtis Ash
                 Kyle Curtis Ash
                 Signature of Debtor 1
        Date March 15, 2021
             MM / DD / YYYY




    Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                           page 8
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    Notice Required by 11 U.S.C. § 342(b) for
    Individuals Filing for Bankruptcy (Form 2010)


                                                                                              Chapter 7:         Liquidation
     This notice is for you if:
                                                                                                      $245      filing fee
            You are an individual filing for bankruptcy,
            and                                                                                        $78   administrative fee

            Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
            Consumer debts are defined in 11 U.S.C.
            § 101(8) as “incurred by an individual                                                    $338      total fee
            primarily for a personal, family, or
            household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                              difficulty preventing them from paying their debts
                                                                                              and who are willing to allow their non-exempt
     The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
     individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                              your debts discharged. The bankruptcy discharge
     Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
     one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                              for particular debts, and liens on property may still
            Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                              may have the right to foreclose a home mortgage or
            Chapter 11 - Reorganization                                                       repossess an automobile.

            Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                        for family farmers or                                                 certain kinds of improper conduct described in the
                        fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                              discharge.
            Chapter 13 - Voluntary repayment plan
                        for individuals with regular                                          You should know that even if you file chapter 7 and
                        income                                                                you receive a discharge, some debts are not
                                                                                              discharged under the law. Therefore, you may still
                                                                                              be responsible to pay:
     You should have an attorney review your
     decision to file for bankruptcy and the choice of                                            most taxes;
     chapter.
                                                                                                  most student loans;

                                                                                                  domestic support and property settlement
                                                                                                  obligations;




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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            most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
            restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                              results of the Means Test, the U.S. trustee, bankruptcy
            certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
            papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                              motion is filed, the court will decide if your case should
     You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                              proceed under another chapter of the Bankruptcy
            fraud or theft;                                                                   Code.

            fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
            fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                              subject to your right to exempt the property or a portion
            intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                              property, and the proceeds from property that your
            death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
            motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
            from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                              household items or to receive some of the proceeds if
     If your debts are primarily consumer debts, the court                                    the property is sold.
     can dismiss your chapter 7 case if it finds that you have
     enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
     You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
     Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
     individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
     form will determine your current monthly income and                                      proceeds to your creditors.
     compare whether your income is more than the median
     income that applies in your state.

     If your income is not above the median for your state,
     you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
     the Chapter 7 Means Test Calculation (Official Form
     122A–2).
                                                                                                          $1,167    filing fee
     If your income is above the median for your state, you
     must file a second form —the Chapter 7 Means Test                                           +           $571    administrative fee
     Calculation (Official Form 122A–2). The calculations on
                                                                                                          $1,738    total fee
     the form— sometimes called the Means Test—deduct
     from your income living expenses and payments on
                                                                                              Chapter 11 is often used for reorganizing a business,
     certain debts to determine any amount available to pay
                                                                                              but is also available to individuals. The provisions of
     unsecured creditors. If
                                                                                              chapter 11 are too complicated to summarize briefly.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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            Read These Important Warnings

                 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                 your property, you should hire an attorney and carefully consider all of your options before you file.
                 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                 properly and protect you, your family, your home, and your possessions.

                 Although the law allows you to represent yourself in bankruptcy court, you should understand that
                 many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
                 or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
                 following all of the legal requirements.

                 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                 necessary documents.

                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
                 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                              Under chapter 13, you must file with the court a plan
     Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
                 farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                              the court approves your plan, the court will allow you
                                                                                              to repay your debts, as adjusted by the plan, within 3
                       $200        filing fee                                                 years or 5 years, depending on your income and other
     +                  $78        administrative fee                                         factors.
                       $278        total fee
                                                                                              After you make all the payments under your plan,
     Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
     and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
     using future earnings and to discharge some debts that                                   pay include:
     are not paid.
                                                                                                     domestic support obligations,

                                                                                                     most student loans,
     Chapter 13: Repayment plan for
                 individuals with regular                                                            certain taxes,
                 income
                                                                                                     debts for fraud or theft,

                       $235        filing fee                                                        debts for fraud or defalcation while acting in a
     +                  $78        administrative fee                                                fiduciary capacity,
                       $313        total fee
                                                                                                     most criminal fines and restitution obligations,
     Chapter 13 is for individuals who have regular income
     and would like to pay all or part of their debts in                                             certain debts that are not listed in your
     installments over a period of time and to discharge                                             bankruptcy papers,
     some debts that are not paid. You are eligible for
     chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
     dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                     certain long-term secured debts.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                              A married couple may file a bankruptcy case
                   Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                              each spouse lists the same mailing address on the
     Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
     you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
     creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
     general financial condition. The court may dismiss your                                  each spouse receive separate copies.
     bankruptcy case if you do not file this information within
     the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
     Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

     For more information about the documents and                                             The law generally requires that you receive a credit
     their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
     http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                              case, both spouses must receive the briefing. With
                                                                                              limited exceptions, you must receive it within the 180
     Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                              briefing is usually conducted by telephone or on the
            If you knowingly and fraudulently conceal assets                                  Internet.
            or make a false oath or statement under penalty
            of perjury—either orally or in writing—in                                         In addition, after filing a bankruptcy case, you generally
            connection with a bankruptcy case, you may be                                     must complete a financial management instructional
            fined, imprisoned, or both.                                                       course before you can receive a discharge. If you are
                                                                                              filing a joint case, both spouses must complete the
            All information you supply in connection with a                                   course.
            bankruptcy case is subject to examination by the
            Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
            U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
            other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
            Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

     Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                              http://www.uscourts.gov/services-forms/bankruptcy/cre
     The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
     address you list on Voluntary Petition for Individuals
     Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
     that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
     Bankruptcy Rule 4002 requires that you notify the court                                  the list.
     of any changes in your address.




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    B2030 (Form 2030) (12/15)
                                                                   United States Bankruptcy Court
                                                                         Eastern District of California
     In re       Kyle Curtis Ash                                                                                  Case No.
                                                                                      Debtor(s)                   Chapter       13

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                  $                  5,000.00
                 Prior to the filing of this statement I have received                                        $                  5,000.00
                 Balance Due                                                                                  $                       0.00

    2.     The source of the compensation paid to me was:

                      Debtor                  Other (specify):

    3.     The source of compensation to be paid to me is:

                      Debtor                  Other (specify):

    4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
           e.   [Other provisions as needed]
                     Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                     reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                     522(f)(2)(A) for avoidance of liens on household goods.

    6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                   any other adversary proceeding.
                                                                               CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         March 15, 2021                                                               /s/ Joseph C. Rosenblit
         Date                                                                         Joseph C. Rosenblit 131663
                                                                                      Signature of Attorney
                                                                                      Law Offices of Joseph C. Rosenblit
                                                                                      1370 N. Brea Blvd., Suite 235
                                                                                      Fullerton, CA 92835
                                                                                      877-475-7065 Fax: 866-456-8234
                                                                                      rosenblitlawyer@gmail.com
                                                                                      Name of law firm




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                                ACM Investor Services, Inc.
                                1101 Fifth Ave. #220
                                San Rafael, CA 94901


                                Capital One Bank
                                P.O. Box 31293
                                Salt Lake City, UT 84130


                                D&D Reit, Inc.
                                1 Sansome Street
                                San Francisco, CA 94104


                                Entra Default Solutions, LLC
                                1355 Willow Way, Suite 115
                                Concord, CA 94520


                                John Chigbu
                                c/o D&D Reit, Inc.
                                265 N Orchard Ave
                                Vacaville, CA 95688


                                Midland States BK/Greensky
                                1797 N East Expy NE
                                Atlanta, GA 30329


                                Travis Credit Union
                                1 Travis Way
                                Vacaville, CA 95687


                                Wells Fargo Home Mortgage
                                PO Box 10335
                                Des Moines, IA 50306
